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                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                                           DALLAS DIVISION

 JOHN OMOILE                                                                  §
                                                                              §
 Plaintiff                                                                    §
                                                                              §   CAUSE NO.
 VS.                                                                          §
                                                                              §
                                                                              §
 GODWIN    EMEFIELE, IN    HIS                                                §
 INDIVIDUAL    AND     OFFICAL                                                §   JURY DEMANDED
 CAPACITY AS THE FORMER CEO                                                   §
 AND     GROUP       MANAGING                                                 §
 DIRECTOR OF ZENITH BANK,PLC,                                                 §
 MARGARET OMOILE EMEFIELE,                                                    §
 ZENITH BANK, PLC, AND DUMIES                                                 §
 INVESTMENT LIMITED.                                                          §
                                                                              §
 Defendants


                                                      ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT;

           NOW COME John Omoile, hereinafter called Plaintiff, complaining of and about

Godwin Emefiele, Individually and in his Official Capacity as the former CEO, and Group

Managing Director of Zenith Bank, PLC. Margaret Omoile Emefiele, Zenith Bank, Pic, and

Dumies Investment Limited, hereinafter called Defendants, and for cause of action show unto the

Court the following:

                                         DISCOVERY CONTROL PLAN LEVEL


            1.         Plaintiff intends that discovery be conducted under Discovery Level 3.

                                                      PARTIES AND SERVICE


           2.          Plaintiff John Omoile, is an Individual and a Dallas County, Resident.

           3.          Defendant, Godwin Emefiele, is an Individual and a citizen of Nigeria, may be


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